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                       UNITED STATES BANKRUPTCY COURT
                         SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

 IN RE: WHITNEY LEI BOWIE
    DEBTOR                                              CASE NO: 4:24-33256

                                                               CHAPTER 13
 2404,
   PLAINTIFF                                         ADVERSARY PROCEEDING NO:
   V.
                                                            NO. _________
 MONEY KEY – TX, INC AND CV CAPITAL
 MARKETING LLC DBA GREAT EASTERN
 RESOLUTIONS
   DEFENDANTS



                                      COMPLAINT


1. Plaintiff Whitney Bowes files this complaint seeking damages arising
   from defendants’ willful violation of the automatic stay in accordance
   with 11 U.S.C. §362(k).

                               A.       INTRODUCTION

2. This is an action for actual and punitive damages, including attorney’s
   fees, filed by the plaintiff for the failure of the defendant to comply
   with 11 U.S.C. §362.

3. In addition, or in the alternative, this action is filed for actual and
   statutory damages, including attorney’s fees, filed by the plaintiff for
   the failure of the defendant to comply with the Fair Debt Collection



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   Practices Act (“FDCPA”), 15 U.S.C. § 1692, et. seq.

4. This action is also filed to prevent the frustration of the underlying
   purposes of the United States Bankruptcy Code. To date, debtor’s
   counsel has been unable to communicate with either defendant in
   order to ensure that the threats and extortion do not repeat.

                          B. JURISDICTION AND STANDING

5. This adversary proceeding relates to the Chapter 13 case of Plaintiff, In
   re Whitney Lei Bowie, Case Number 24-33256, filed in the United States
   Bankruptcy Court for the Southern District of Texas, Houston Division.

6. This Court has jurisdiction of this adversary proceeding pursuant to 28
   U.S.C. §1334 and § 157(b) and (c).

7. To the extent the Court may find this to be a non-core proceeding, the
   plaintiff consents to the entry of a final order in this matter by the
   Bankruptcy Court, in accordance with 28 U.S.C. § 157(c)(2).

8. This Court has supplemental jurisdiction to hear all state law and
   FDCPA claims pursuant to 28 U.S.C. § 1367.

9. Venue is proper in this district pursuant to 28 U.S.C. § 1391 because a
   substantial portion of the events giving rise to Plaintiff’s claim occurred
   in this district. Defendants regularly transact business in this district.

10. Plaintiff has standing to bring this action as she was damaged
    economically and suffered damages to her person as a result of the
    defendants’ willful violation of the automatic stay.

                                      C. PARTIES

11. Plaintiff is the debtor in the above-captioned bankruptcy case, filed


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   under Chapter 13 of the United States Bankruptcy Code.

12. Upon information and belief, defendant MoneyKey – TX, Inc., is a
    Credit Access Business licensed by the State of Texas License No.
    16641-62815. They are a foreign corporation with headquarters in
    Delaware. They can be served by service upon their registered agent,
    Corporation Service Company dba CSC-Lawyers, Incorporated, 211 E.
    7th Street, Suite 620, Austin, Texas, 78701.

13. Upon information and belief, Defendant Great Eastern Resolutions is a
    dba of CV Capital Marketing LLC, a limited liability corporation
    registered in Florida that lists Chistopher Veale of Boca Raton, Florida
    as manager. Great Eastern Resolutions can be served by service on
    their registered Agent, Eduard Kotlyarov, Jr. Esq., 433 Plaza Real, Suite
    375, Boca Raton, Florida 33432.

14. This Court has jurisdiction because an action to enforce liability under
    the FDCPA may be brought in any court of competent jurisdiction. 15
    U.S.C. § 1692k(d).

                                 D. RELEVANT FACTS

Ford Motor Credit sued Atanacio Valdez and both parties were represented
by counsel in the matter

15. At some point in 2020 or 2021, Whitney Lei Bowie took out a small
    dollar loan from Defendant MoneyKey-TX, Inc. Unfortunately, she
    could not make all the payments on the loan.

16. Ms. Bowie received calls from Great Eastern Resolutions, the dba of CV
    Capital Marketing LLC. They were collecting on the MoneyKey loan.
    Ms. Bowie made a payment plan and provided her bank account
    information so that payments could be autodrafted from her bank




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   account.

17. On July 17, 2024, Whitney Lei Bowie filed a Chapter 13 bankruptcy
    petition, schedules, statement of affairs and supporting documents,
    seeking the protection and assistance of the bankruptcy court.
    Defendant MoneyKey -TX, Inc. was listed on Schedule E/F at their
    headquarters address, 1000 N. West Street, Suite 1200, Wilmington,
    Delaware, 19801.

18. Ms. Bowie had an automatic payment of $133.33 to Great Eastern
    scheduled for July 19, 2024. On July 18, she received a voicemail from
    the collector at Great Eastern, reminding other of the payment due and
    providing a phone number she could contact with any questions in
    regards to her payment.

19. Realizing they had not yet learned of her bankruptcy filing but
    assuming they would soon, Ms. Bowie changed her bank account
    information so the payment would not accidentally be put through.

20. On July 19, 2024, Ms. Bowie had another voicemail from Great Eastern.
    This one was transcribed on her voicemail as follows: “Hi Whitney, I
    just received a missed call from you here at the legal firm handling your
    case 124865. It looks like the payment of the 133 didn’t go through.
    Give me a call back if this still something is resolved voluntarily at ####
    OK sweetheart my extension is ###.”

21. Ms. Bowie had called Great Eastern and she called them back. She felt
    secure in calling, as she knew she had filed bankruptcy and was not
    obligated to make this payment. She wanted to provide the collection
    employee with her attorney’s contact information and the case
    number for her bankruptcy so they would stop contacting her about
    the payment plan. However, that is not how the call went.




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22. The Great Eastern employee told Ms. Bowie that she could see from
    the notes that Ms. Bowie had filed bankruptcy, but unfortunately the
    debt with MoneyKey is not dischargeable, that she had signed that
    away in the original contract with MoneyKey. Ms. Bowie tried to
    protest and said she did not understand. She tried to give the case
    number and contact information for her lawyer. However, the Great
    Eastern employee said no, it did not matter, they would now proceed
    to garnish wages.

23. Ms. Bowie is the sole provider for her family and hearing that her
    wages would be garnished caused visions of homelessness to spin in
    her head. Completely frazzled and with the collection employee
    pushing the garnishment issue again, purposely upping Ms. Bowie’s
    panic, Ms. Bowie relented and made the payment for MoneyKey.

24. After the call, Ms. Bowie felt frustrated and in severe emotional
    distress. What was the point of filing the bankruptcy if she could have
    her wages garnished? Why didn’t her attorneys warn her that the debt
    may not be dischargable? She started to wonder what was right after
    all. Should she have just sent some of her scarce money to MoneyKey
    when she had her first payment on her Chapter 13 plan coming due?
    But she did not want her wages garnished as she would then be unable
    to pay the rent! Her mental anguish at her financial situation was now
    noticeably higher than before she had filed the bankruptcy.

25. Ms. Bowie did file a dispute with her bank but because she had agreed
    to send the money, even though it was under duress, the bank said
    there was nothing they could do.

26. The transaction went through as $133.33 to Great Eastern Resolution
    with a phone number appearing on the transaction report with Ms.
    Bowie’s bank account – 888-263-2318.




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27. Ms. Bowie then contacted her attorney’s office where she learned that
    the MoneyKey loan was a simple, unsecured debt that should not get
    priority over any other unsecured creditor – and furthermore, that the
    threats to garnish were lies. Wages cannot be garnished in Texas and
    even in the limited circumstances when they can, it is only after a
    judgment is received in a lawsuit.

28. Despite knowing that Ms. Bowie had filed bankruptcy and was
    protected by the automatic stay, Defendants purposely continued their
    collection efforts in order to extort payment from her with their
    threats and lies.

29. Great Eastern does not have a debt collection bond and is not licensed
    with the state of Texas as is required by state law. Furthermore, CV
    Capital Marketing, LLC is also not licensed in Texas as a debt collector
    nor does it have registration with the state Tax Assessor or the
    Secretary of State.

30. MoneyKey-TX, Inc. hired an unlicensed debt collector with no bond to
    collect its debts. The collectors they hired, Great Eastern, proceeded
    to violate the laws governing the automatic stay in bankruptcy, the
    FDCPA, and the laws of common decency.

31. On or about August 29, 2024, Ms. Bowie was again assaulted by a
    barrage of calls from MoneyKey. The first call that she answered, a
    collector from MoneyKey told her that he was in her neighborhood,
    ready to serve her with a lawsuit. This was not a polite call about an
    address from a normal process server; rather, it was a malicious threat.

32. Ms. Bowie was home alone, about to pick up her children from school
   and despite having previously been told by her attorney’s office that
   the callers were likely lying, she was still afraid. A single mother alone
   with a man threatening that he would come to her home cannot help



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   but lay awake at night, wondering what she should do. Should she call
   the police? What would make this stop?

33. The calls continued. On or about August 30, she had to put her phone
    on Do-Not-Disturb. Not to be defeated, the collectors left voicemails.
    read “This message is for Whitney Bowie. It seems we have exhausted
    all resources to try and reach you in regard to a collection matter in our
    office. There were several attempts by the creditor for you to respond
    and handle the situation. This has been our attempt to get your
    attention on this account before it is deemed a delivered attempt to
    have a issue. Contact Karen Miller if you wish to gather more
    information to handle this account…..###-###-####”.

34. Ms. Bowie figured out a way to contact MoneyKey directly, and she
    called them. However, MoneyKey was not helpful. They said it was
    out of their hands and offered her no solutions. At best, MoneyKey
    had sold Ms. Bowie’s personal information to this unlicensed predator.
    At worst, they had hired them to collect. Either way, they refused to
    even provide contact information to Ms. Bowie.

35. As a proximate result of the foregoing acts and omissions of the
   Defendant, Plaintiff has suffered actual damages and injury, including
   but not limited to stress, humiliation, mental anguish and suffering,
   and emotional distress, for which Plaintiff should be compensated in
   an amount to be proven at trial. Plaintiff thought that once she hired a
   lawyer and filed bankruptcy, then the collection issues would stop and
   she could make payments to the trustee under an organized plan.
   Instead, she faced threats, panic and uncertainty as a direct result of
   Defendants’ actions.

36. Ms. Bowie’s counsel attempted to make contact with Great Eastern
    Resolution to seek a return of the funds. However, calls to both the
    number provided to Ms. Bowie and the number appearing on her bank


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   account as belonging to Great Eastern Resolution were not productive.

Defendant MoneyKey-TX, Inc. is liable for the actions of their debt
collectors under the doctrine of Respondeat Superior

37. The acts and omissions of Defendant Great Eastern Resolutions, and
    the other debt collectors employed as agents by Defendant who
    communicated with Plaintiff as further described herein, were
    committed within the time and space limits and within the sphere of
    their respective work done within their agency relationships with their
    principal, the Defendant MoneyKey-TX, Inc.

38. The acts by Defendant debt collectors and their employees were
    incidental to, or of the same general nature as, the responsibilities
    these agents were authorized to perform by Defendant in collecting
    consumer debts.

39. By committing these acts against Plaintiff, these agents of Defendant
    debt collector were motivated to benefit their principal, the Defendant
    MoneyKey-TX, LLC.

40. Defendant Moneykey is therefore liable to Plaintiff through the
    Doctrine of Respondeat Superior and the doctrine of principal-agency
    relationships for the intentional acts, errors, and omissions done in
    violation of state and federal law by his collection employees.

      E. WILLFUL VIOLATION OF THE AUTOMATIC STAY – 11 U.S.C. §362(K).
                         AGAINST BOTH DEFENDANTS

41. Plaintiff incorporates the preceding paragraphs.

42. “When a bankruptcy petition is filed, an automatic stay operates as a
   self-executing injunction." Campbell v. Countrywide Home Loans, Inc.,
   545 F.3d 348, 354-355 (5th Cir. 2008). The automatic stay protects the


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   debtor from further collection actions for debts that arose prior to the
   filing. 11 U.S.C § 362.

43. "One of the most fundamental bankruptcy protections afforded to
    debtors and creditors alike is the automatic stay. Without it, the
    bankruptcy process would be thrown into disarray, with creditors
    racing to pursue their own remedies against the debtor's property."
    Garza v. CMM Enters., LLC (In re Garza), 605 B.R. 817 (Bankr. S.D. Tex.
    2019).

44. Should that stay be violated, 11 U.S.C § 362(k) provides a private right
    of action to the debtor:

              (A)n individual injured by any willful violation of a
              stay provided by this section shall recover actual
              damages, including costs and attorneys' fees, and,
              in appropriate circumstances, may recover
              punitive damages.

45. For Plaintiff to succeed on her claims, she has the burden to establish,
    by a preponderance of the evidence, three elements. First, that
    Defendants knew of the existence of the stay; second, that Defendants’
    actions were willful; and third, that Defendants’ actions violated the
    automatic stay. Gates v. RAC Acceptance Tex., LLC (In re Gates), 621
    B.R. 129, 136 (Bankr. W.D. Tex. 2020).

46. Here, when Ms. Bowie contacted the Defendant collection agency
    hired by MoneyKey-TX, Inc., she was informed that the collector could
    see in “her file” that Ms. Bowie had filed bankruptcy. Furthermore,
    Ms. Bowie was trying to provide contact information of her lawyer so
    that any doubt could be resolved, but the collector instead falsely
    insisted that the MoneyKey-TX contract stated the loan was not
    dischargeable in bankruptcy. So not only was MoneyKey listed as a



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   creditor, but the collector discussed the bankruptcy with Ms. Bowie.

47. Second, the Fifth circuit has held that “a willful violation does not
    require a specific intent to violate the automatic stay. Rather, the
    statute provides for damages upon a finding that the defendant knew
    of the automatic stay and that the defendant's actions which violated
    the stay were intentional. Whether the party believes in good faith that
    it had a right to the property is not relevant to whether the act was
    ‘willful’ or whether compensation must be awarded.” In re Chesnut,
    422 F.3d 298 (5th Cir. 2005) Here, the actions of the Defendant
    collection agency were intended and these actions of the agent of
    MoneyKey-TX, Inc. have only been ratified, rather than rejected, by
    MoneyKey-TX.

48. The third factor is clear – trying to take money from Ms. Bowie’s
    account, the calls to collect, and the conversation with Ms. Bowie
    which extorted payment from her and the processing of the payment
    were all violations of the automatic stay, as money was taken from Ms.
    Bowie to pay MoneyKey, to the detriment both of Ms. Bowie and to
    the other creditors.

49. Damages for emotional distress may also be recovered as a component
    of actual damages for a violation of the automatic stay. The
    Bankruptcy court in the Eastern District of Texas, Marshall Division, so
    found, stating “ While a court must cautiously examine the proof which
    is tendered in support of a such a claim, this Court believes that, in
    shaping a remedy that only permits individuals to recover for damages
    inflicted by a creditor's violation of the automatic stay, § 362(k)
    encompasses an individual's right to recover for any emotional distress
    caused by that violation.” In re Collier, 410 B.R. 464 (Bankr. E.D. Tex.
    2009)

50. Ms. Bowie’s actual damages include both economic and emotional


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   distress damages as described in the preceding paragraphs.

51. Punitive damages are appropriate in the case of “egregious conduct”.
    In re: Repine, 36 F.3d 512, 521 (5th Cir. 2008).

52. Here, refusing to contact her attorney and instead stating that
   garnishment would be imminent should a payment not be made
   immediately qualify as egregious conduct.

53. Plaintiff seeks actual damages, punitive damages, and attorney fees
   and costs for the Defendants’ violation of the automatic stay.

F. VIOLATION OF THE TEXAS DEBT COLLECTION ACT – TEXAS FINANCE CODE §392 ET.
                                   SEQ.
                         AGAINST BOTH DEFENDANTS

54. Plaintiff incorporates all preceding paragraphs.

55. For Plaintiff to succeed on her TDCA claims, he must satisfy three
    prerequisite requirements: Plaintiff must be a "consumer", Defendants
    must be " debt collectors" that sought to collect a "consumer debt" from
    Plaintiff, as these terms are defined by the TDCA.

56. Section 392.001(1) provides the following definition for "consumer":
    "Consumer" means an individual who has a consumer debt.

57. Here, Plaintiff is an individual who owed on a personal loan from
    MoneyKey-TX, Inc. She used the borrowed funds for personal, family
    and household needs. Ms. Bowie meets the definition of consumer and
    the debt is a consumer debt.

58. Section 392.001(5) provides the following definition for " debt
    collection": " ‘Debt collection’ means an action, conduct, or practice in
    collecting, or in soliciting for collection, consumer debts that are due or



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   alleged to be due a creditor.” And 392.001(6) defines a debt collector as
   a person who directly or indirectly engages in debt collection.

59. Here, MoneyKey-TX Inc is engaged in collection of consumer debt from
    Plaintiff, thereby meeting the definition of “debt collector”. They do
    not meet the definition of a “third party debt collector”, but that is not
    necessary for the claims here.

60. CV Capital Marketing LLC dba Great Eastern Resolutions is also engaged
   in the collection of consumer debt from Plaintiff, thereby meeting the
   definition of “debt collector”. They do meet the definition of a “third
   party debt collector”.

61. Section 392.001(2) provides the following definition for "consumer
    debt": "Consumer debt" means an obligation, or an alleged obligation,
    primarily for personal, family, or household purposes and arising from a
    transaction or alleged transaction. The MoneyKey loan meets the
    definition of consumer debt.

62. All three definitions are met in this case. MoneyKey-Tx and Great
    Eastern are both debt collectors collecting a consumer debt from Ms.
    Bowie as defined by the Texas Finance Code.

63. MoneyKey-TX violated Texas Finance Code § 392.306. “A creditor may
    not use an independent debt collector if the creditor has actual
    knowledge that the independent debt collector repeatedly or
    continuously engages in acts or practices that are prohibited by this
    chapter.”

64. Defendant Great Eastern does not have a bond as required by Texas
    Finance Code §392.101. Every act they take to collect a consumer debt
    in the state is a violation of the Texas Debt Collection Act as they lack a
    bond. These are repeated violations.



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65. Defendant Great Eastern lacks proper procedures to keep from violating
    even the simplest of provisions of the Debt Collection Act – to keep a
    bond. Furthermore, they continued to use abusive collection tactics,
    including threats and lies, to extort payment from Ms. Bowie despite
    their knowledge of the bankruptcy.

66. By hiring and continuing to use Great Eastern as a collection firm,
   Defendant MoneyKey-TX Inc violated the TDCA. Furthermore, by
   accepting the payments which MoneyKey-TX was bringing in, such as the
   payment Ms. Bowie was forced to make on or around July 20, 2024,
   MoneyKey-TX ratified the actions of their collectors.

67. Defendant’s actions were the proximate cause of actual and economic
    damages to Plaintiff, including but not limited to the economic hardship
    from the loss of money due to her extra payment, creating a need for
    her to skimp on other necessities for her family, and her extreme stress,
    anxiety and panic leading to sleeplessness, agitation and irritability.

68. While Ms. Bowie had already retained counsel for the Chapter 13
   bankruptcy, she has now been forced to incur more reasonable and
   necessary attorneys’ fees on her behalf. This Court can award Plaintiff
   her attorneys’ fees as against Defendants pursuant to 11 U.S.C. §362k, §
   392.403 of the TDCA, the Court’s inherent powers, and its § 105(a)
   powers.

                                        PRAYER

WHEREFORE, Plaintiff respectfully requests that this Court enter judgment
in her favor and against Defendants as follows:
    (a) For a repayment of the payment made to Defendants;
    (b) For actual damages, including economic harm and mental anguish;
    (c) For punitive damages for the willful violations of Defendants;



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  (d) For an award of attorneys’ fees, costs and expenses incurred in the
      investigation, filing and prosecution of this action;
  (e) For such other or further relief as the Court deems proper.

                               Respectfully submitted,




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